        Case 8:16-cv-01955-JAK-FFM Document 450 Filed 07/17/18 Page 1 of 1 Page ID #:13186
                                                                                       UNITED STATES DISTRICT COURT
                                                                                                                  Central District of California

                                                                         APPLICATION TO THE CLERK TO TAX COSTS

 Power Analytics Corporation
                                                           V.                                                                                      Case Number:                         8:16-CV-1955-JAK-FFM
 Operation Technology, Inc. d/b/a ETAP; ...

Judgment was entered in this action on 12/22/2017 /                                                                                   369             against Power Analytics Corporation                                                                             .
                                                                                                        Date                     Docket No.


    NO HEARING ON THIS APPLICATION WILL BE HELD UNLESS THE CLERK NOTIFIES THE PARTIES OTHERWISE.

 Filing fees: see L.R. 54-3.1 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Fees for service of process: see L.R. 54-3.2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 United States Marshal’s fees: see L.R. 54-3.3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 Reporter’s transcripts: see L.R. 54-3.4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Depositions: see L.R. 54-3.5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Witness fees (itemize on page 2): see L.R. 54-3.6 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Interpreter’s and translator’s fees: see L.R. 54-3.7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Docket fees: see L.R. 54-3.8. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Masters, commissioners and receivers: see L.R. 54-3.9 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Certification, exemplification and reproduction of documents: see L.R. 54-3.10. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                    $0.00           $130,642.50
  (- $130,642.50. Non-specific documentation. Also, L.R. 54-3.10, "..necessarily filed and served.")
 Premiums on bonds and undertakings: see L.R. 54-3.11 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Other Costs: see L.R. 54-3.12 (attach court order) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 State Court costs: see L.R. 54-3.13 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Costs on appeal: see L.R. 54-4 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Cost of a bankruptcy appeal to the District Court: see L.R. 54-5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

                                                                                                                                                                                                                                    TOTAL    $0.00          $130,642.50

NOTE: You must attach an itemization and documentation supporting all requested fees and costs. Documentation includes
receipts, orders, and stipulations. All receipts must be self-explanatory.
                                                            DECLARATION
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this application has been served on all
parties by:
              ✔ The Court's CM/ECF System

                                    Conventional service by first class mail
                                    Other

 /s/ Benjamin J. Bradford                                                                                                                                                        Benjamin J. Bradford
 Signature                                                                                                                                                                       Print Name

 Attorney for: Schneider Electric USA, Inc.

 Costs are taxed in the amount of                                                  $0.00

                            Kiry K. Gray                                                                        By:                                J. Roper                                                                                   7/17/2018
Clerk of Court                                                                                                               Deputy Clerk                                                                                                            Date

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